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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
       Case No.       15-CV-06004 RGK (AGR)                                    Date    July 27, 2016
       Title          Howard L. Baldwin, et al., v. United States of America




 Present: The                   R. GARY KLAUSNER, U.S. DISTRICT JUDGE
 Honorable


 Sharon L. Williams (Not Present)                          Not Reported                           N/A
                Deputy Clerk                        Court Reporter / Recorder                   Tape No.


               Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         Not Present                                            Not Present


 Proceedings:                (IN CHAMBERS) Order re: Defendant’s Motion for Summary Judgment

I.      INTRODUCTION

        On August 7, 2015, Howard and Karen Baldwin (“Plaintiffs”) filed an action against the United
States of America (“Defendant”). The Complaint seeks the refund of income taxes wrongfully denied to
Plaintiffs by the Internal Revenue Service (“IRS”).

        On June 16, 2016, Defendant filed this Motion for Summary Judgment arguing that because
Plaintiffs cannot meet their burden to show a waiver of sovereign immunity, the Court must dismiss the
case for lack of personal jurisdiction.

          For the following reasons the Court DENIES Defendant’s Motion for Summary Judgment.

II.       STATEMENT OF FACTS

          The following facts are undisputed:

         On October 24, 2006, the IRS received Plaintiffs’ individual income tax return form and
payment of the full $170,951 in liability for the tax year 2005 (“2005 Return”). (Greene Decl. Exs. D
and F, ECF No. 27-3.) For tax year 2007, Plaintiffs requested and were granted an extension of time to
file their return until October 15, 2008. Id. On November 1, 2010, the IRS received Plaintiffs’ individual
income tax return form for tax year 2007 (“2007 Return”), indicating a net operating loss for that year.
Id. Plaintiffs then prepared an amended individual income tax return (“Amended Return”), claiming the
2007 net operating loss (“NOL”) as a carry back deduction for the tax year 2005 and a refund in the
amount of $170,951. Id. On June 21, 2011, Plaintiffs’ assistant sent the Amended Return to the IRS via
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regular mail. Id. The IRS records do not reflect that the Amended Return was ever received, nor that any
return claiming a refund for tax year 2005 was postmarked, delivered, or filed by October 15, 2011. Id.
The IRS denied Plaintiffs’ refund claim on August 12, 2013, and Plaintiffs brought this suit against the
IRS on August 7, 2015. Id.

III.       JUDICIAL STANDARD

        Pursuant to Federal Rule of Civil Procedure 56(a), a court may grant summary judgment only
where “there is no genuine issue as to any material fact and … the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a). Upon such a showing, the court may grant summary judgment on
all or part of the claim. Id.

          To prevail on a summary judgment motion, the moving party must show that there are no triable
issues of material fact as to matters upon which it has the burden of proof at trial. Celotex Corp. v.
Catrett, 477 U.S. 317, 325 (1986). On issues where the moving party does not have the burden of proof
at trial, the moving party need only show that there is an absence of evidence to support the non-moving
party’s case. See id.

        To defeat a summary judgment motion, the non-moving party may not merely rely on its
pleadings or on conclusory statements. Id. at 324. Nor may the non-moving party merely attack or
discredit the moving party’s evidence. See Nat’l Union Fire Ins. Co. v. Argonaut Ins. Co., 701 F.2d 95,
97 (9th Cir. 1983). The non-moving party must affirmatively present specific admissible evidence
sufficient to create a genuine issue of material fact for trial. Celotex 477 U.S. at 324.

VI.        DISCUSSION

       At the nexus of Defendant’s motion is the contention that because Plaintiffs failed to prove a
waiver of sovereign immunity, the Court lacks personal jurisdiction.

       As a sovereign, the United States may not be sued without its consent, and that consent defines
the court’s jurisdiction. United States v. Dalm, 494 U.S. 596, 608 (1990). A waiver of sovereign
immunity must be “unequivocally expressed” through a Congressional statute, United States v. Testan,
424 U.S. 392, 399 (1976), and that statute must be strictly construed against the surrender of sovereign
immunity. Safeway Portland Emp. Federal Credit Union v. Federal Deposit Ins. Corp., 506 F.2d 1213,
1216 (9th Cir. 1974).

        Congress has granted this Court jurisdiction over claims against the United States for the
recovery of any internal-revenue tax alleged to have been erroneously or illegally assessed or collected.
28 U.S.C. § 1346(a)(1). “Despite its spacious terms, § 1436(a)(1) must be read in conformity with other
statutory provisions which qualify a taxpayer’s right to bring a refund suit upon compliance with certain
conditions.” Dalm, 494 U.S. at 601. The Internal Revenue Code (“IRC”) lays out three requirements, all
of which must be met, for a proper waiver of sovereign immunity with regard to suits for the recovery of
refunds. First, the IRC bars a suit for the recovery of a refund until the taxpayer has fully paid his tax for
the year in question. Flora v. United States, 362 U.S. 145, 176 (1960). Second, no suit for recovery of a
refund may be initiated unless a claim for a refund was timely filed. 26 U.S.C. § 7422(a). Third, a suit
proceeding under § 7422 may not be filed within 6 months from the date of filing the refund claim, or
more than two years from the date the IRS denied the claim. 26 U.S.C. § 6532(a)(1).

        Here, Plaintiffs fully paid the tax liability of $170,951 for tax year 2005. (Greene Decl. Exs. D
and F, ECF 27-3.) Furthermore, the IRS denied Plaintiffs’ refund claim on August 12, 2013, and
Plaintiffs filed their refund suit less than two years later, on August 7, 2015. (Id.) In light of these facts,

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the Court finds that Plaintiffs have fulfilled the first and third requirements for a waiver of sovereign
immunity.

        With respect to the second requirement, however, Defendant contends that Plaintiffs did not
timely file their claim for a refund and thus failed to prove a waiver of sovereign immunity. The Court
disagrees and finds that Plaintiffs provide sufficient evidence to show a triable issue of material fact
with respect to the timely filing of their refund claim.

       Timely Filing of Refund Claims

        To claim a refund arising from an overpayment attributable to a net operating loss (“NOL”), a
taxpayer must file a claim for a refund within “3 years after the time prescribed by law for the filing of
the return (including extensions thereof) for the taxable year of the NOL.” 26 U.S.C. § 6511(d)(2)(A).

         Here, Plaintiffs contend they mailed the Amended Return on June 21, 2011, thereby timely filing
their claim for the 2007 NOL as a carryback deduction and a refund in the amount of $170,951. (Greene
Decl. Exs. D and F, ECF No. 27-3.) In support, Plaintiffs testify that they mailed the Amended Return
on June 21, 2011, and provide a declaration from a former assistant who claims to have applied the
appropriate postage and deposited the Amended Return at the post office on the date in question. (Lynch
Decl. Ex. B, ECF No. 30.) Defendant responds that Plaintiffs’ evidence is inadmissible. Defendant
argues therefore, that because the IRS never received the Amended Return, Plaintiffs cannot raise a
triable issue as to its filing.

        Accordingly, the Court addresses the admissibility of Plaintiffs’ evidence, and the sufficiency of
that evidence.

       1.          Admissibility of Extrinsic Evidence

        In the event the IRS does not receive a return, the common law provides that proof of timely
mailing of the return raises a rebuttable presumption that it was timely received. Anderson v. United
States, 966 F.2d 487, 491 (9th Cir. 1992) (citing Rosenthal v. Walker, 111 U.S. 185, 193-94 (1884));
Schikore v. BankAmerica Supplemental Ret. Plan, 269 F.3d 956, 961 (9th Cir. 2001). Like any
rebuttable presumption, it is chiefly a “tool for determining, in the face of inconclusive evidence,
whether or not receipt has actually been accomplished.” Id. Under IRC § 7502, however, a taxpayer may
conclusively establish receipt of a return by presenting proof of registered or certified mail as evidence.
26 U.S.C. § 7502(c). In the Ninth Circuit, when no such evidence exists, a taxpayer may introduce
extrinsic and circumstantial evidence of mailing for the purposes of establishing a presumption of
receipt. Anderson, 966 F.2d at 491.

        In 2011, the Treasury Department amended its regulations related to § 7502(c), making
registered or certified mail receipts the only evidence that can conclusively or presumptively establish
receipt of a return not actually received. 26 CFR 301.7502-1(e). This regulation is in direct conflict with
Ninth Circuit precedent, which allows credible extrinsic evidence of mailing to create a presumption of
receipt under § 7502(c). Defendant contends that under the Chevron deference test, the Court must defer
to the agency’s regulation.

         In Chevron, U.S.A., Inc., v. NRDC, Inc., 467 U.S. 837, 842-43 (1984), the Supreme Court laid
out a two-step analysis to determine whether a court should defer to an agency’s statutory interpretation.
First, the court must determine if Congress has clearly and unambiguously expressed its intent through
the statute. Id. If the statute is unambiguous, the court need not give any deference to the agency
regulation. Id. If the statute is ambiguous, however, the court must defer to all reasonable agency
interpretations of that statute. Id. at 843. Furthermore, any prior judicial constructions of that statute are
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superseded by reasonable agency interpretations of ambiguous statutes. Nat’l Cable & Telecomm. Ass’n.
v. Brand X Internet Servs., 545 U.S. 967, 982 (2005).

         A statute is ambiguous if Congress either explicitly or implicitly left room for agency
interpretation. Chevron 467 U.S. at 843-44. An example of an explicit authorization is found in § 7502
itself. The statute explicitly authorizes the Treasury Secretary to create regulations to determine whether
postmarks made by delivery services other than the United States Postal Service qualify as postmarks
for the purposes of the statute. 26 U.S.C. § 7502(b). Implicit authorization is present where Congress
remains silent as to the definition of a statutory term. Chevron 467 U.S. at 844. For example, in
Chevron, the EPA interpreted the definition of the statutory term “stationary source,” 467 U.S. at 839;
and, in Brand X, the Federal Communications Commission interpreted the statutory term
“telecommunications service.” 545 U.S. at 974. In both instances, however, the statutory terms were
considered ambiguous, thus leaving room for varying interpretations of their meaning or application.

        Here, the Court finds no statutory ambiguity. Congress did not explicitly authorize the Treasury
to interpret what constitutes evidence. As evidenced by other sections of the statute, it is clear that
Congress knows how to explicitly authorize agency interpretations when it intends to do so. See
generally 26 U.S.C. § 7502(b) (statute explicitly authorizes the Treasury Secretary to create regulations
to determine whether postmarks made by delivery services other than the United States Postal Service
qualify as postmarks for the purpose of § 7502). Accordingly, the Court finds its silence instructive. Nor
has Congress implicitly left room for agency interpretation, as there is no ambiguous statutory term that
has been left undefined.

        Based on the foregoing, the Court finds that the Treasury Department’s 2011 amendment
materially alters an otherwise clear statute. When Congress enacted § 7502(c), it intended to alleviate
the hardship of postal service malfunctions by giving taxpayers a means to conclusively establish the
IRS’ receipt of a return with proof of certified or registered mail. While the statute made the proof of
certified or registered mail sufficient evidence to conclusively establish a receipt of the return, there is
no indication that it intended to foreclose other evidentiary means that might assist in establishing a
presumption of delivery.

       The Court finds that § 7502 is not ambiguous, and therefore the Court need not proceed to the
second step of the Chevron analysis. Accordingly, no deference shall be granted to the Treasury
Department’s interpretation of the statute. The Court next considers Plaintiffs’ testimony and the
declaration of their former assistant in determining the sufficiency of Plaintiffs’ evidence.

       2.          The Sufficiency of Plaintiffs’ Evidence

       If a taxpayer furnishes credible evidence of the date on which her return was postmarked and
mailed to the IRS, that date controls. Lewis v. United States, 144 F.3d 1220, 1223 (9th Cir. 1998). In the
Ninth Circuit’s seminal case on the admissibility of extrinsic evidence for purposes of § 7502, a
taxpayer’s testimony, in addition to a corroborating affidavit, was sufficient to prove that a tax return
was postmarked and mailed on the alleged date. Anderson 966 F.2d at 491.1 Furthermore, in Lewis, a
taxpayer provided credible evidence that the return was mailed on the date alleged when he produced
not only its own sworn testimony, but also three signed and dated checks received by the IRS and
bearing the postmark date. 144 F.3d at 1223.



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 The affidavit declared that she went to the post office with the taxpayer and waited for her in the
car. Id. at 489. The taxpayer returned to the car without the envelope containing the tax return. Id.
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        Here, Plaintiffs provide not only their own sworn testimony that the Amended Return was
mailed on June 21, 2011, but also a sworn affidavit from their former assistant. This affidavit details
how the assistant placed the Amended Return in an envelope addressed to the IRS, placed the
appropriate postage on the envelope, and deposited it in the mail. (Lynch Decl. Ex. B, ECF No. 30.) To
rebut this presumption, the government offers IRS records that reflect that the Amended Return was
never received. (Greene Decl. Exs. D and F, ECF No. 27-3.) The credibility of each party’s evidence is
for a jury to weigh, and is not a determination made at summary judgment. The Court does find,
however, that Plaintiffs have shown a triable issue of material fact as to the timely mailing of the
Amended Return.

V.       CONCLUSION

         Plaintiffs have provided sufficient evidence to show a triable issue of material fact with respect
to the timely filing of their refund claim. Therefore, a triable issue exists as to Defendant’s waiver of
sovereign immunity in this case.

         For these reasons, the Court DENIES Defendant’s Motion for Summary Judgment.

         IT IS SO ORDERED.

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                                                        Initials of Preparer




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